

People v Barrington (2018 NY Slip Op 00689)





People v Barrington


2018 NY Slip Op 00689


Decided on February 2, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, LINDLEY, DEJOSEPH, AND CURRAN, JJ.


117 KA 15-01994

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vFRANKIE L. BARRINGTON, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






WILLIAMS HEINL MOODY BUSCHMAN, P.C., AUBURN (MARIO J. GUTIERREZ OF COUNSEL), FOR DEFENDANT-APPELLANT. 
JON E. BUDELMANN, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Cayuga County Court (Thomas G. Leone, J.), rendered June 25, 2015. The judgment convicted defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree and unlawful manufacture of methamphetamine in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: February 2, 2018
Mark W. Bennett
Clerk of the Court








